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                                                                      RECEIVED
MatthewL. Myers                                                         SEP 1 0 Z0Z4
44 Indian Mountain Road                                           clerk, U.S. DISTRICT COURT
Lakeville, CT 06039                                             northern district of California
Email: niaiiliew('^/>inrrasinieiureiip^ade.eom
Phone:(86o)-435-o509


September 2,2024


Class Action Clerk
United States District Court for the Northern District ofCalifornia
450 Golden Gate Avenue
San Francisco, CA 941023489

Re: Objections to Oracle Privacy Settlement - Katz-Lacabe et al v. Oracle America, Inc.,
Case Numberiss-22-a)-04Yg2-RII>

Dear Class Action Clerk (for Case Numberiss:22-cv-04'^g2-RS),

a. The name and case number ofthis lawsuit(Katz-fMcabe et ah). Oracle America,Inc., the
case numberiss:22-cv-04Yg2-RS);

b. The basis for believing you are a Settlement Class Member;
Emailed legal notification dated September 2,2024 noting Notice ID: KATL0527111556,
Confirmation Code: 43wADKHE4an7, United States District Court for the Northeni
District ofCalifornia Katz-Lacabe et alv. Oracle A/nerica,Inc., Case No.;^:22-a)-o4^g2-RS.

e. Your fiill name and mailing address, and email address or telephone number;

Matthew L. Myers, 44 Indian Mountain Road, Lakeville,                          CT     06039,
iiiaiihew(^/>infi'asiriieliireiipm'ade.eom,(860>-435-0509

d. A clear and concise statement of all reasons for your objection;

1 am hereby objcctiiigto the proposed settlement(re: Oracle Privacy Settlement- Katz-
Lacabe et alv. Oracle America, Inc., Case Numberis4:22-cv-o4t^g2-RS) for not providing
and/or meeting the minimum threshold for due process of the participants, including
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